 

Case 2:04-cr-01189-CAS Document 230 Filed 09/28/20 Page 1lof5 FagedRtit253e 4 cour

 

i i ber 28, 2020
United States District Court September

Central District of California

 

 

 

CENTRAL DISTRICT OF CALIFORNIA

 

 

 

United States of America py:__CM DEPUTY
Plaintiff
Case Number
2:04-CR-01189-CAS
Vv.

Gabriel Gonzalez
Defendant, Pro Se

Objection to court's order
denying appointment of counsel

Gabriel Gonzalez objects to this court's order denying appointment of counsel
to this matter because the court has not identified and included several additional
impediments warranting such appointment.

Gonzalez is grateful for this court's desire to expand this matter for inclusion
of the several and many pleadings and exhibits he has attempted to serve upon this
court. The continuing and pervasive lockdown at Gonzalez" prison has created a
series of obstructions and impediments, beyond the control of this litigant, which
severely reduces or outright restricts his ability to research important and relevant
legal premises, develop appropriately constructed legal pleadings, and to timely

send and receive legal materials to and from this court.

The prison's law library is still closed for the majority of days and affords
only extremely limited access, usiially inclusive of only once or twice per month
for only about an hour's worth of research time. In addition, there are no typewriters
or other word-processing devices available in the library for use and Gonzalez is
only able to access a single typewriter from the administrative offices of his housing
area twice a week when he is able to successfully wait his turn from among 160 other

prisoners who share its usage. Being unskilled and untrained in formal litigation
Case 2:04-cr-01189-CAS Document 230 Filed 09/28/20 Page 2of5 Page ID #:1253

practices, these impediments cumulatively and adversely affect Gonzalez’ ability
successfully research current caselaw on his issues, to properly cite and discuss
the most important facts and points related to the court's standards and tests for
failure to know what tests are available to use, and is unable to direct the court's
attention to other relevant holdings related to the issues he now presents both

within this Circuit and in sister-Circuits.

It has been a frustrating and sometimes futile effort for Gonzalez to try
and access information related to this matter from off-site sources, especially
confirmation that this court has received his pleadings in a timely manner. From
the outset, Gonzalez has used the Spring Street address and has had no reason to
believe the court had changed its mailing address. Gonzalez certainly received
no notification that this was being done. However, when he began receiving his
returned mail in August he sought assitance from a paralegal service who gave him
this court's alternate address. Even so, Gonzalez has asked this court to provide
him with a stamped-filed copy of each of his pleadings but continues to be excluded
from this courtesy. (see Certificate of Service of Gonzalez' pleadings). Without
this notification Gonzalez could have been aware of the interruption of his mail
and would have taken prompt action to correct this deficit.

On 9/22/20 Gonzalez received this court's document number 223 which advised
that the court has not yet received his 'Reply to Government's Medical Record Inquiry’
motion. This is troublesome because there were exhibits included with that motion
which may not be available for reproduction, even if Gonzalez could gain access
to a copy machine or recover the tangible examples of PPE equipment offered by the
prison for prisoner's use. Gonzalez does remember this reply motion as being one
of the documents which was returned to him and was sent to this court reforwarded
to the Temple Street location. Having received this document (223) through the

prison's regular internal mail system, there is virtually : ’
Case 2:04-cr-01189-CAS Document 230 Filed 09/28/20 Page 30f5 Page ID #:1254

no time for Gonzalez to recreate, with the exhibits, his reply motion within the
time afforded him by the court. If the court remains unserved with this motion
then Gonzalez asks that he be given an extension of time in which to supply a recreated
copy of his pleading.

To further complicate his situation, Gonzalez has previously asserted that
he has fallen under attack by the prison's medical administration as a result of
this court's inquiry into the treatment he has received from the prison to treat
his COVID-19. It is undoubtably an affront to the prison that the government has
formally declared that Gonzalez has been given no treatment at all and since Gonzalez'
OSHA and DOJ-OIG exhibits demonstrate formal acknowledgement of the deficiencies
of the Bureau of Prisons and of the Forrest City prison specifically, the prison
has ceased providing Gonzalez with several of his Chronic care medications, making
him sick and susceptible to further physical degeneration. Gonzalez will provide
documentation and proof of this fact upon request by this court.

Gonzalez notified the court of this fact weeks ago in his Protective Order

motion but has not been given notification of it's status or resolution.

In all, the circumstances and impediments faced by Gonzalez are beyond his
ability to control and which impose upon him unreasonable burdens and deterrents
in litigating this matter before this court. This, coupled with the complexity
of his issues, and the hardships created by the mailroom demanding that he thrice
pay for postage under the guise that his pleading requires more than the overpaid
postage he has already included, are beyond the scope of what is normal in access
to the courts. Gonzalez prays this court find he has been unreasonably impaired
in this litigation and grants him counsel to finalize this matter while ensuring

confidence in this court's just practice.
Case 2:04-cr-01189-CAS Document 230 Filed 09/28/20 Page 4of5 Page ID #:1255

Verification

I have read the foregoing Objection to Court's Order denying appointment of
counsel and hereby verify that the matters alleged herein are true, except as to
matters alleged on information and belief, and as to those, I believe them to be

true and correct. Executed at Forrest City, Arkansas on this 22nd day of September ,
2020.

—

Gabriel Gonzalez
Defendant, Pro Se

Certificate of Service

I certify under the penalty of perjury that the foregoing Objection to Court's
Order was placed in the prison's internal mail system, postage pre-paid, for service
upon this court via U.S. mail on this 22nd day of September 2020 to 255 E. Temple
Street, room 180 Los Angeles, California 90012. Gonzalez asks this court's clerk
to serve all other interested parties by electronic notification and to provide

him with a stamped filed copy of this motion.

    

Gabriel Gonzal
Defendant, Pro Se
 

 

SAIEIS Payn
21006 WO ‘sajabuy so7

08) wooy
Ls afdway 3 95z
UNnodWsSIg SH

@7LE-SLSOES

 

 
